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                                                                                                                                10/2018


                                    United States District Court
                                    For the District of Columbia
                                                      )
Citizens for Responsibility and Ethics                )
in Washington,                                        )
                                                      )
                                       Plaintiff      )         Civil Action No._______________________
                        vs
                                                      )
U.S. Department of Health & Human                     )
Services,                                             )
                                                      )
                                      Defendant       )


                                                   CERTIFICATE RULE LCvR 26.1

                                           Citizens for Responsibility and Ethics in Washington certify that to the best of my knowledge and
I, the undersigned, counsel of record for ____________________________________

                                                                           Citizens for Responsibility and Ethics in Washington which have
belief, the following are parent companies, subsidiaries or affiliates of _______________________________________

any outstanding securities in the hands of the public:

  None




These representations are made in order that judges of this court may determine the need for recusal.


                                                                  Attorney of Record

                                                                  _______________________________________
                                                                  Signature

 1017937
________________________________________                          Nikhel Sus
                                                                  _______________________________________
BAR IDENTIFICATION NO.                                            Print Name

                                                                  1101 K St. NW, Suite 201
                                                                  _______________________________________
                                                                  Address

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                                                                  City          State        Zip Code

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                                                                  _______________________________________
                                                                  Phone Number
